Case 9:17-bk-12341-DS                            Doc 20 Filed 04/05/18 Entered 04/05/18 14:47:09                                                Desc
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               -         -                .
                                          -              ---     --      -                                                               -
     Attorney or Party Name, Address, Telephone 8 FAX Nos ,State                    FOKCOURTUSE
                                                                                             ONLY
     Bar No & Emall Address                                                    I1
                                                                -.                                 .     . . ..


     1042 Pacific Street
     Suite D
     San L u i s O b i s p o , C A 93401
     (805) 542-0755 Fax: (805) 542-0234                                        i1
     72 0436 C A
     tausiawyer@gmail.com
                            --
 : C) Ind~v~duol
             oppeonr~gwrlhoul alto


 1 In re.
 !
                    .__                            C E N T R A L DISTRICT            OF CALIFORNIA
                                 Jon W e l l s
                                                                                    CHAPTER: 7


                                                                                                  SUMMARY OF AMENDED SCHEDULES,
                                                                                                       MASTER MAILING LIST,
                                                                                                       AND/OR STATEMENTS
                                                                                                           [LBR 1007-I(c)]


 A filing fee is required to amend Schedules 0,or E/F (see Abbreviated Fee Schedule on the Court's website
 i~~.cacb.uscourts.qov).     A supplemental master mailing list (do not repeat any creditors on the original) is also required as an
 attachment if creditors are being added to the Schedule D or EIF. Are one or more creditors being added?            Yes     No

 The following schedules, master mailing list or statements (check all that apply) are being amended.
  I
  8 Schedule A/B           (XI Schedule C                Schedule D          Schedule E/F                          Schedule G

     0 Schedule H            0 Schedule I                 Schedule J                      Schedule J-2             Statement of Financial Affairs

 0 Statement About Your Social Security Nurnber(s)                                      Statement of               Master Mailing List
                                                                                    Intentions
       Other (specify)
                                                                         1     .      c       n
Ilwe declare under penalty of perjury undet the laws of
statements are true and correct.

 Date          M a r c h 29,2018

                                                               DBPtor 1 q~gnature
                                                                     \        ',
                                                               ~ e b t q2r (Jqint Debtor) Signature (if applicable)

NOTE: It is the responsibility of the Debtor, or the                                                               on all creditors listed in this
Summary of Amended Schedules, Master Mailing                                                                       attached Proof of Service of
Document.




      This form is mandatory. It has been approved for use by the Un~tedStates Bankruptcy Court for the Central District of California.

Deceniber 2015                                                       Page 1                                       F 1007-1.l.AMENDED.SUMMARY
                 Case 9:17-bk-12341-DS                           Doc 20 Filed 04/05/18 Entered 04/05/18 14:47:09                                                Desc
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  Debtor 1

  Debtor 2
  (Spouse. ~f filing)


  United States Bankruptcy Court for the.              CENTRAL DISTRICT OF CALIFORNIA

  Case number                                                                                                                                                Check if this is an
                                                                                                                                                             amended filing



 Official Form 106AlB
 Schedule AIB: Property                                                                                                                                                   12115
 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
 think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
 Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        NO.GO to Part 2.

        Yes. Where is the property?




  11                                                                 What is the property? Check all that apply
        855 Venice R o a d                                                  Single-familyhome                                  Do not deduct secured claims or exemptions. Put
        Street address. ~fava~lable,or other descr~pl~on                                                                       the amount of any secured claims on Schedule D:
                                                                            Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Properfy.
                                                                            Condominium or cooperative

                                                                            Manufactured or mobile home
                                                                                                                               Current value of the      Current value of the
        Templeton                     CA        93465-8557                  Land                                               entire property?          portion you own?
        City                          State         ZIP Code                Investment property                                     $1,470,000.00                  $88,200.00
                                                                            T~meshare
                                                                                                                              Describe the nature of your ownership interest
                                                                            Other                                             (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one           a life estate), if known.
                                                                            Debtor 1 only                                      Fee
        San Luis Obispo                                                     Debtor 2 only
        County                                                              Debtor 1 and Debtor 2 only
                                                                            At least one of the debtors and another            '    Check if this is community property
                                                                                                                                    (see instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




 2. A d d the dollar value o f the portion y o u o w n f o r all o f your entries f r o m Part 1, including any entries f o r
    pages y o u have attached f o r Part 1. Write that number here ...........................................................................
                                                                                                                                           =>
            Describe Your Vehicles

D o you own, lease, o r have legal o r equitable interest i n any vehicles, whether they are registered o r not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106AlB                                                     Schedule AIB: Property                                                                             Page 1
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  Debtor 1         Jon W e l l s                                                                                     Case number (if known)

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles




    31     Make        Ford                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
           Model       F150                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.

                                                                     Debtor 2 only                                            Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
                                                                     At least one of the debtors and another


                                                                     Check if this is community property
                                                                     lsee ~nstrucl~onsl




 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercrafl, fishing vessels, snowmobiles, motorcycle accessories

         No
         Yes



  5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
    .pages you have attached for Part 2. Write that number here .............................................................................
                                                                                                                                         =>                          $0.00


                                                                                                                                                     Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do no! deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   1
   7 NO
         Yes. Describe.....




7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
         Yes. Describe.....




8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
         No
         Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
         No
         Yes. Describe.....


Official Form 106NB                                                      Schedule N B : Property                                                                         page 2
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                Case 9:17-bk-12341-DS                                           Doc 20 Filed 04/05/18 Entered 04/05/18 14:47:09                                  Desc
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   Debtor 1         Jon Wells                                                                                                  Case number (if known)

  10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         No
         Yes. Describe.....

  11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
         Yes. Describe.....




 12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
         Yes. Describe.....




 13. Non-farm animals
     Examples: Dogs, cats, birds, horses
         No
         Yes. Describe.....

 14. Any other personal and household items you did not already list, including any health aids you did not list
         No
         Yes. Give specific information .....


  15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3. Write that number here ..............................................................................                                           $1,600.00


            Describe Your Financial Assets
                                                                      --    -
 Do you own or have any legal orequitable interest i n any of the following?                                                                            -current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes ................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes ......................                                       Institution name:

                                                           Checking Account
                                               17 1        #3565                                   Rabobank                                                                 $0.00


                                                                                                   Rabobank
                                               17.2.       Savings                                 Account #6190                                                            $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes ..................                           Institution or issuer name:



Official Form 106NB                                                                        Schedule N B : Property                                                          page 3
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  Debtor 1         J o n Wells                                                                                    Case number ( ~known)
                                                                                                                                  f

 19. Non-publicly traded stock and interests i n incorporated and unincorporated businesses, including an interest i n an LLC, partnership, and
     joint venture
    U No
         Yes. Give specific information about them ...................
                                    Name of entity:                                                                % of ownership:




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         No
         Yes. Give specific information about them
                                     Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
         Yes. List each account separately.
                                 Type of account:                               Institution name:

                                           Pension                              Van


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
         No
         Yes. .....................                                             lnstitution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
         No
         Yes .............            Issuer name and description.

24. Interests in an education IRA, i n an account i n a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(l), 529A(b), and 529(b)(I).
         No
         Yes .............            Institution name and description. Separately file the records of any interests.11 U.S.C. 5 521(c):

25. Trusts, equitable or future interests i n property (other than anything listed i n line I),
                                                                                              and rights or powers exercisable for your benefit
         No
         Yes. Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
         No
         Yes. Give specific information about them ...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them.

 Money or property owed t o you?                                                                                                           Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.




Official Form 106NB                                                         Schedule N B : Property                                                           page 4
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  Debtor 1        Jon Wells                                                                                                       Case number (if known)

 28. Tax refunds owed to you
         No
         Yes. Give specific information about them, including whether you already filed the returns and the tax years ......


 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
         Yes. Give specific information......


 30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
               benefits; unpaid loans you made to someone else
         No
         Yes. Give specific information..

 31. Interests i n insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance


         Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                                       Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest i n property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
         No
         Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........




34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................


           Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part I.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. G o to Part 6.
       Yes. G o to line 38.




Official Form 106NB                                                            Schedule N B : Property                                                                           page 5
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  Debtor 1        Jon Wells                                                                                                          Case number ( ~known)
                                                                                                                                                     f

              escribe Any Farm- and Commercial Fishing-Related Property You Own or Have an lnterest In.



 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           NO. GO to Part 7.

           Yes. Go to line 47.


                                                  u Own or Have an lnterest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
         No
         Yes. Give specific information.........


 54     Add the dollar value of all of your entries from Part 7. Write that number here ...................................                                               $0.00

                List the Totals of Each Part of this Form


 55. Part 1 : Total real estate, line 2 ......................................................................................................................       $88,200.00
 56. Part 2: Total vehicles, line 5
 57. Part 3: Total personal and household items, line 15
 58. Part 4: Total financial assets, line 36
 59. Part 5: Total business-related property, line 45
 60. Part 6: Total farm- and fishing-related property, line 52
 61. Part 7: Total other property not listed, line 54                                           +
 62    Total personal property. Add lines 56 through 61                                                     $14,482.60              Copy personal property total      $14,482.60

 63    Total of all property on Schedule A16 Add llne 55 + llne 62




Official Form 106NB                                                              Schedule N B : Property                                                                      page 6
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  Debtor 1                 Jon Wells
                           Flrst Name                       M~ddleName                   Last Name

  Debtor 2
  (Spouse ~f flltng)       F~rstName                        M~ddleName                   Last Name


  Un~tedStates Bankruptcy Court for the,

  Case number
  (tf known)
                                                      CENTRAL DISTRICT OF CALIFORNIA



                                                                                                                                     .    Check if this is an
                                                                                                                                          amended filing


 Official Form 106C
 Schedule C: The Property You Claim as Exempt
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
 the property you listed on Schedule N B : Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more space is
 needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
 case number (if known).

For each item of property you claim as exempt, you must specify the amount o f the exemption you claim. One way of doing s o i s t o state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted u p to the amount of
any applicable statutory limit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited i n dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption t o a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
t o the applicable statutory amount.




       .        Identify the Property You Claim as Exempt

  1. Which set of exemptions are you claiming? Check one only, even ifyour spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. 9 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. 9 522(b)(2)

 2. For any property you list o n Schedule A/B that you claim as exempt, fill i n the information below.




                                                                                      .
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box foreach exemption
                                                               Schedule A@
      855 Venice Road Templeton, CA                                  $88,200.00                                        C.C.P. § 704.730
                                                                                                             $~OO,OOO.OO
      93465-8557 San Luis Obispo County




                                                                                      .
      Line from Schedule N B 1.I                                                           100% of fair market value, up to
                                                                                           any applicable statutory llmlt

      2016 Ford F150 20000 miles                                            $0.00                                    $0.00    C.C.P. § 704.010
      Line from Schedule N B : 3.1




                                                                                      .
                                                                                           100% of fa~rmarket value, up to
                                                                                           any appllcable statutory llmlt

      Miscellaneous Household                                            $250.00                                 $250.00      C.C.P. § 704.020
      Furnishings
      Line from Schedule N B : 6.1                                                         100% of falr market value, up to
                                                                                           any appl~cablestatutory limit

     Miscellaneous Household                                                                                           00     C.C.P. § 704.020
     Appliances




                                                                                      .
     Line from Schedule N B . 6.2                                                          100% of fair market value, up to
                                                                                           any appl~cablestatutory llmlt

     Miscellaneous Electronics                                           $500.00                                 $500.00      C.C.P. § 704.020
     Line from Schedule N B : 7.1
                                                                                           100% of fair market value, up to
                                                                                           any appllcable statutory llmit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                                                                Main Document    Page 9Case
                                                                                         of number
                                                                                             9 (if known)
  Debtor 1    Jon Wells
       Brief description of the property and line on           Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
       Schedule A/S that lists this property                   portion you own
                                                               Copy the value from    Check only one box for each exemptron
                                                               Schedule AIL3
       Wearing Apparel                                                                                            $IOO~OO     C.C.P. § 704.020
       Line from Schedule N B : 11. I
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Watch                                                                                                       $ ~ O O , O O C.C.P. § 704.040
      Line from Schedule N B : 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Savings: Rabobank                                                                                              $0.00    C.C.P. 9 704.070
      Account #6190
      Line from Schedule N B : 17.2                                                        100% of fair market value, up to
                                                                                           any applicable statutory limit

      Pension: Vanguard
      Line from Schedule N B : 21 . I                                                                                         ,~-,
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




      .
  3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                    No
                    Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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